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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

 

SOUTHERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff, Case Number 18-20495
v. Honorable David M. Lawson
IBRAHEEM IZZY MUSAIBLI,
Defendant.
/
VERDICT FORM

As to Count One of the indictment, we, the jury, by unanimous verdict, find the defendant,
Ibraheem Izzy Musaibli (check only one):
Not guilty.
Guilty of providing material support to a designated terrorist organization.

Guilty of attempting to provide material support to a designated terrorist
organization.

xX Guilty of both attempting to provide material support to a designated terrorist

organization and providing material support to a designated terrorist organization.

As to Count Two of the indictment, we, the jury, by unanimous verdict, find the defendant,
Ibraheem Izzy Musaibli:
Not guilty.

* Guilty of conspiracy to provide material support to a foreign terrorist organization.
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As to Count Four of the indictment, we, the jury, by unanimous verdict, find the defendant,
Ibraheem Izzy Musaibli:
Not guilty.

Guilty of receiving military-type training from a foreign terrorist organization.

s/ Jury Foreperson

In compliance with the Privacy Policy adopted
by the Judicial Conference, the verdict form
with the original signature has been filed
under seal.

Dated: January 40, 2023
